   Case 3:22-cv-05069-MAS-TJB Document 4 Filed 09/30/22 Page 1 of 1 PageID: 39




                                          September 30, 2022


(Via ECF)
The Honorable Michael A. Shipp
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street Room 2020
Trenton, NJ 08608

         Re:         McKinley v. Princeton University
         Docket No.: 3:22-cv-05069


Dear Judge Shipp:

         Please be advised that this office represents the Plaintiff in the above referenced matter. There
is currently Defendant’s Notice of Motion to Dismiss pending before Your Honor returnable October
17, 2022.

         With the consent of Defense counsel, Plaintiff kindly requests that the pending motion be
 carried one-cycle.

         Thank you for your attention and consideration in this matter.

                                     Respectfully submitted,

                                    __/s/ David E. Cassidy, Esq.___
                                     DAVID E. CASSIDY, ESQ.

cc: Leslie Miller Greenspan, Esq. (via e-filing)
